 8:15-cr-00320-JFB-FG3          Doc # 94      Filed: 10/13/16   Page 1 of 1 - Page ID # 218




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                   8:15CR320

       vs.
                                                                     ORDER
EDWARD SAMS,

                      Defendant.


       This matter is before the Court on the defendant’s Motion for Copies [93] of his docket
sheet and to waive such fees thereof. The motion is granted.


       IT IS SO ORDERED.




       Dated this 13th day of October, 2016

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge
